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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

HANNAH CRAMER, et al.,                                     )
                                                           )
                           Plaintiffs,                     )
                                                           )
V.                                                         )         Civil Action No. 3:18-CV-39-HEH
                                                           )
ARKESIA, INC. d/b/a CLUB                                   )
ROUGE, et al.,                                             )
                                                           )
                           Defendants.                     )

                  ORDER GRANTING JOINT MOTION FOR LEA VE TO
                   FILE SETTLEMENT AGREEMENT UNDER SEAL

         THIS MATTER is before the Court on the Parties' Joint Motion to Seal

Settlement Agreement (ECF No. 240), filed on September 28, 2018. Upon consideration

of the Parties' Motion, the Court finds as follows: 1

         1.       The requirement of public notice has been satisfied by the Parties, and

interested parties have had reasonable opportunity to object.

         2.       The limited sealing proposed by the Parties is far from drastic and is

warranted for the following reasons: (a) the public policy promoting confidential dispute

resolution outside of formal court proceedings; and (b) the confidential settlement

agreement non-public, confidential, proprietary information of the Defendants and non-

public, confidential, personal information of the Plaintiff.




1
 The required findings are set forth in Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000) (citing In re
Knight Publishing Co., 743 F.2d 231, 235-36 (4th Cir. 1984)).
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       3.     Given the foregoing, the Court finds that the public interest in promoting

out-of-court settlements and the Parties' interest in non-disclosure of confidential,

personal, and business-proprietary information outweighs the public's right to access the

confidential settlement agreement in issue.

       It is therefore ORDERED that the Motion is GRANTED, and it is further

ORDERED that the Parties' Settlement Agreement may be filed under seal.

       The Clerk is DIRECTED to send a copy of this Order to all counsel of record.

       It is so ORDERED.



Date: Oc.t 11 1 20/~                                                 Isl
Richmond, Virginia                                Henry E. Hudson
                                                  Senior United States District Judge
